                    Case 4:08-cr-00091-BAE-GRS Document 38 Filed 11/05/08 Page 1 of 6
AD 245B (Rev 2/03) Judgment na Crimna Case
         Sheet 1



                                    United States District Court
                                                 SOUTHERN DISTRICT OF GEORGIA
                                                      SAVANNAH DIVISION

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                     V.

           Aurora Yvette Hemandez                                           Case Number               CR408-00091-001
                                                                            USM Number                80403-004

                                                                            Amanda Rerie Roberts
                                                                            Defendant's Attorney


THE DEFENDANT;
[X]      pleaded guilty to Counts I and 2.

The defendant has been convicted of the following offenses:


          Title & Section              Nature of Offense                                            Offense Ended                 Count

                                       Conspiracy to commit health care fraud and                   December 2007
           18 U.S.C. § 371
                                       aggravated identity theft


          18 U.S.C. § 1347             Health care fraud                                              May 3, 2007                    2

        The defendant is sentenced as provided in pages 2 through ofthis judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

         The defendant has been found not guilty on count(s)_.......
IX]      Counts 3 through 40 are dismissed as to this defendant on the motion of the United States.


         It is ordered that the defendant must noti1i the United States attorney for this disttict within 30 days of any change of name,
residence, or mailing address until all lines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                 November 5, 2008
                                                                                 Date fimpo ion Judgment



                                                                                  ignature of Judge

                                                                                 B. Avant Edenfield
                                                                                 United States District Judge
                                                                                 For the Southern District of Georgia
                                                                                 Name and Title of Judge



                                                                                 Date
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AU 245B Rev 12/03) Judgment in a Criminal Case:                                                        Judgment-Page 2 of 6
        Sheet 2 - Imprisonnient

DEFENDANT: Aurora Yvette Hemandez
CASE NUMBER: CR408-0009l-OO1
                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
         for a total term of: 51 months as to each of Counts 1 and 2. to be served concurrently

[]       The Court makes the following recommendations to the Bureau of Prisons:


[Xi      The defendant is remanded to the custody of the United States Marshal.
I I      The defendant shall surrender to the United States Marshal for this district:

         [ ] at      [ ] a.m. [ ] p.m. on ______
         [   as notified by the United States Marshal.

[ I      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         [ ) before 2 p.m. on ______
               as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Office.
                                                      RETURN
         I have executed this judgment as follows:




         Defendant delivered on                           to
at                                                   with a certified copy of this judgment.




                                                                                         United States Marshal


                                                                              By
                                                                                     Deputy United States Marshal
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AO 245B (Rev 12/03) Judgment in a Criminal Case                                                                                           Judgment-Page 3 of 6
       Sheet 3 - Supervised Release

DEFENDANT: Aurora Yvette Hernandez
CASE NUMBER: CR408-00091-OO1
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years as to each of Counts and 2, to be served
concurrently

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

     I    The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
           (Check, if applicable.)

[XI       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[XJ       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
          directed by the probation officer. (Check, if applicable.)

II        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
         of the court;
13)      as directed by the probation officer, the defendant shall notil third parties of risks that may be occasioned by the defendant's criminal record
         or personal history or characteristics and shall permit the probation officerto make such notification and to confirm the defendant's compliance
         with such notification requirement; and
14)      Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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AO 2458 (Rev 12/03) Judgment in a Criminal Case:                                                       Judgment-Page 4 of
        Sheet 3C - Supervised Release

DEFENDANT: Aurora Yvette Hemandez
CASE NUMBER: CR408-00091-001


                                           SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
          determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
          abuse.
2.        The defendant shall participate in a program of mental health treatment if the Court determines such program
          is necessary during the term of supervision.
          The defendant shall complete 150 hours of community service during the first 18 months of supervision.
4. The defendant shall provide the probation officer with access to any requested financial information. The
       defendant shall not incur new credit charges or open additional lines of credit without the approval of the
       probation officer unless the defendant is in compliance with the installment payment schedule.

                                                    ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


     (Signed)
                    Defendant                                           Date



                    U. S. Probation Officer/Designated Witness          Date
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A0 245 (Rev 12/03) Judgment in a Criminal Case:                                                                             Judgment-Page 5 of
      Sheet 5 - Criminal Monetar y PenaItie

DEFENDANT: Aurora Yvette Hernandez
CASE NUMBER: CR408-00091-001
                            CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                          Assessment                       Fine                    Restitution
 Totals:                                                           $200                                       $1,018,159.84

     The determination of restitution is deferred until__. An Amended Judgment in a Criminal Case (AO 245C) will be entered after
         such a determination.

[Xl The defendant must make restitution (including community restitution) to the following payees in the amounts listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
        victims must be paid before the United States is paid


            Name of Payee                         Total Loss*              Restitution Ordered                    Priority or Percentage
DHHS/CMS                                                                         $986,376.73                               97%
Division of Accounting
Mail Stop C-30927
7500 Security Boulevard
Baltimore, Maryland 21244-1850

TriCare Management Activity                                                       $31,783.11                                3%
Attn: Aundrey Duvall,
Chief of Finance and Accounting
RE: Longevity
16401 East Centretech Parkway
Aurora, Colorado 80011

                Totals:                                                         $1,018,159.84


11       Restitution amount ordered pursuant to plea agreement

[X] The defendant must pay interest on restitution and a fine of more than 52,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. § 3612(t). All ofthc payment options on Sheet 6 may be subject
        to penalties for delinquency and default pursuant to IS U.S.C. § 36 12(g).
FI      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                   The interest requirement is waived for the       [ ] fine       [ I restitution.
            I      The interest requirement for the    [ ] fine           J restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                  Case 4:08-cr-00091-BAE-GRS Document 38 Filed 11/05/08 Page 6 of 6
A0 245B (Rev 12/03) Judgment in a Criminal Case:                                                                                Judgment-Page 6 of 6
         Sheet 6 - Criminal Monetary Penalties

DEFENDANT: Aurora Yvette Hemandez
CASE NUMBER: CR408-00091-OO1
                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [X] Lump sum payment of $               due immediately, balance due

               not later than _; or
           [X] in accordance with [ I C, [ ] D, [ J E, or [XI F below, or

B [ ] Payment to begin immediately (may be combined with [ I C, [ ] D, or [ ] F below); or

C[        Payment in equal - (e.g., weekly, monthly, quarterly) installments of S over a period of (e.g., months or years), to commence
          - (e.g., 30 or 60 days) after the date of this judgment, or

D[]       Payment in equal_ (e.g., weekly, monthly, quarterly) installments of$ over a period of _(e.g., months or years), to commence
          _(e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [ 1 Payment during the term of supervised release will commence within - (eg., 30 or 60 days) after release from imprisonment.
      the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F [X] Special instructions regarding the payment of criminal monetary penalties: Pursuant to 18 U.S.C. § 3664(t)(3)(B), nominal
        payments of either quarterly installments of a minimum of $25 if working non-UNICOR or a minimum of 50 percent of monthly
        earnings ifworking UNICOR shall be made. Upon release from imprisonmentand while on supervised release, nominalpayments
        of a minimum ofS500 per month shall be made. Payments are to be made payable to the Clerk, United States District Court, for
        disbursement to the victims.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[X]      Joint and Several
            Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
            Amount, and corresponding payee, if appropriate:
            Defendant                Case Number             Total          Joint and Several       Payees
            Aurora Yvette Hernandez CR408-0009 1-001         $1,018,159.84  $1 ,0 18,159.84         DHHS ($986,376.73)
                                                                                                    TriCare ($31,783.11)

             Bahram Khanali                CR408-0009l-002              $1,018,159.84 $1,018,159.84                      DHHS ($986,376.73)
                                                                                                                         TriCare ($31,783.11)

         The defendant shall pay the cost of prosecution.

[I       The defendant shall pay the following court cost(s):


         The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs.
